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EXHIBIT B

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1 And meanwhile, we have the current online
2 forum going; but I can't spend much time on the
3 online forum because I'm working on putting this
4 expedition together and then doing the expedition.
5 When I got back from the expedition, the 2012 trip,
6 the old EPAC is fairly dead and the new forun,
7 without aggressive moderation, has been taken over by
8 naysayers and trolls, and it was just a mess. And I

9 started cleaning up Dodge City, and we turned it back

10 into a productive research tool, and it has been.
11 But part of that process was stopping the
12 discussion about underwater screen captures, the

13 stuff that Mr. Mellon was posting, taking screen

14 captures and starting to put body parts, and stuff.
15 And it just -- I was getting private emails, and it
16 -- I let it go on for months, but it wasn't -- it

17 started in like late October and went through all of

18 January, all December, and then by mid January it had

19 gotten so crazy that I'm getting emails from members,
20 and phone calis, saying what do you -- this is
21 hurting us, having stuff this crazy up there. People

22 come to see what's TIGHAR doing, and we're talking

23 about banjos? Come on. You've got to do something.
24 And I said, all right, all right.
25 And, of course, we know the effect that that

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Q. And that video, as you've said, Jesse has a
scereen in front of him?

A. Uh-huh.

Oo. And there were two kinds of video on the --

on the ROY --

A. Yeah.
QO. -- correct?
A. Yeah, he had two screens there. The

standard definition video, which the resolution isn't
great, and I think it's black and white, also, but it
has depth and heading information on it and time
information on it, superimposed on the screen.

The high definition camera doesn't have any
of that information on it, but it's a colored
picture, much, much better resolution.

Q. And he had both of those available?

A, He had both, sure.

Q. And -- and when -- so my understanding from
your testimony, then, is when Mr. Clauss and Mr. Holm
were not working on the tether, they would be sitting
with him watching that?

A. Sure.

QO. And who was deciding where the ROV was
actually going to go?

A. Jesse.

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QO. Okay. And would TIGHAR members have input
into that or --

A. We would have a team meeting every night.
And at the team meeting we discussed what was
accomplished during the day, what problems we ran
into, and what we were going to do tomorrow. And
each team that was working in a different area would
make their report and we would discuss it. And Jesse
might say, all right, so we finished the area down by
Norwich City and now we're going to be working our
way up along the reef north of there. And we'd all
talk about that, i£ anybody wanted to make a comment,
well, why are you going to go that way instead of
that way?

Oh, we feel that this is -- he had a good
reason.

Everybody is cool with that? Good.

But that's the way -- that's the best way to
make decisions on an expedition like this, if you can
get a consensus among all the team members this is
the direction we're all going to go. I really avoid
situations where there’s a lot of disagreement and I
have to just make an executive decision and say,
well, you know, somebody has to make the call and,

when it comes down to that, that's my job. But I

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1 and worked north. My guess would be that we started
2 north and worked south, because the prevailing
3 current runs southward and you don't want to buck the
4 current if you don't have to.
5 QO. The -- at the team meetings did you review

6 any footage?

7 A. Only if there was something interesting to
8 look at. The only footage I remember any focused
9 attention to was the rope and wire video, because

10 that's the only time we saw anything that looked like

11 it was manmade.

12 Qo. Okay. So that's the only video you recall
13 reviewing on the ship?

14 A. I know I -- I -- if I happened to be aboard
15 ship and the ROV operations were underway, I would
16 always go over and look over Jesse's shoulder, but

17 that didn't happen often.
18 Qo. The -- and do you recall when you were
19 looking at the rope and wire video while you were

20 onboard the ship, was it the HD or standard that you

21 were looking at?
22 A. It was whatever was coming up the pipe. And
23 I don't know what the resolution was. I can't

24 imagine it would be anything but the full 1080,

25 because it's a direct feed off the camera.

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then, of the Clauss and Holm --

A. No, no, they are not summaries.

Oo. Okay.

A. These -- this is my verbatim transcription
of Clauss' and Holm's.

Q. So if I looked at their handwritten notes,
they should be the same?

A. Yes, they should.

Q. Okay. And I see Mr. Rodocker has notes on
there, as well?

A. Uh-huh.

Qa. And did he submit daily notes to you, as
well?

A. Yes. My recollection is he ~- he completed

field notes like the rest of us.

Q. And did you put this summary together once
you got back, or was this done onboard?

A. I think it was after we got back, yeah.

Q. I ask you to turn over to June 6th.

A. Uh-huh.

Q. Which is -- and do you see it starting at
the bottom of the page there?

A. Yes.

Q. And just looking at that, is that

documenting when that locating acoustic beacon system

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1 was damaged?

2 A. That's right.

3 Q. And that actually happened on the 6th, then,
4 correct?

5 A. Yes, that's right.

6 Q. And then going down to June 7th, do you see
7 that?

8 A. Uh-huh.

9 Q. And that documents the finding of a loop of
10 wire at about 300 meters?

1i A. Found a loop of wire at about 300 meters,

12 yes.

13 Qa. And again, Rodocker also documents finding
14 that wire ring, do you see that?

15 A. Found wire ring object. Later determined

16 likely to be natural.

17 Q. And did you make that determination, that it
18 was likely to be natural?

19 A. He made that determination.

2.0 Q. Did you ever make a determination?

21 A. I was back and forth about it. I still am.
22 The trouble is, I'm not familiar enough with

23 underwater vegetation. There's a type of coral

24 called -- my mind just drew a blank, but it's spiral
25 coral that often grows in these big spirals, and if

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1 it's just a broken-off piece of that kind of coral,

2 that could be all it is. There's just no way I can

3 see, looking at that video, to tell whether it's wire
4 or not.

5 Qo. Looking on the June 8th entry, do you see

6 there's a note -- under Mr. Holm's notes he talks

7 about returning to where they saw the loop of wire --
8 A. Un-huh.

9 Q. -~- the day before.

10 Do you see that?

11 A. Yep.
12 Q. And he describes being unsuccessful because
13 of the weather conditions. Do you see that?

14 A. Uh-huh.

15 Oo. Was there any other effort, other than on

16 June 8th, to go back and find the rope and wire?

Ly A. Not that I know of.

18 (Pause in proceedings.)

19 BY MR. STUBSON:

20 Q. Mr. Gillespie, I'll hand you what's been

21 marked as Deposition Exhibit 30 and ask you if you

22 recognize that document. And look at all three

23. pages. It's a spreadsheet that was printed out over
24 multiple pages.

25 A. Yeah, I -- this looks like a printout from a

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1 footage for all the operations of the ROV in 2010?
2 A. Yeah, I should have.
3 QO. When you -- when you returned from the
4 expedition, did you pursue any further scrutiny or
5 analysis of the video, underwater video, that you
6 obtained in the Niku VI expedition?
7 A. Yes, we did.
8 Q. What did you do to go about having it
9 further --
10 A. I looked at it myself.
11 Q. And when was that? Was that right when you
12 got back, was that sometime after you got pack?
13 A. Sometime after we got back.
14 Q. Okay.
15 A. I don't remember exactly when, but I know
16 that we asked -- sorry.
L7 I know that we asked Jeff Glickman to look
18 at the footage.
19 Obviously, we go out there and we take this
20 footage and we don't see anything. And, well, maybe
21 there's something. we missed. So we were really
22 interested to have it reviewed and see if -- if there
23 was something there that we didn't recognize in real
24 time. And so we -- we sent the footage to -- Mark
25 Smith, I think, sent the footage to Jeff Glickman.

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Ll Q. All the footage from 2010?
2 A. I believe so, yes.
3 Q. Okay. And when that was sent to
4 Mr. Glickman, did you give him any instructions or
5 was he just instructed to review all the footage?
6 A. Review everything there and let me know if
7 you see anything, Jeff, yeah. Because we sure

8 didn't.

9 QO. Okay. You didn't draw his attention to

19 anything in particular?

11 A. Well, we ~-- we knew about the wire and the
12 rope, we knew that that was -~ but it was Jeff that

13 had identified these things that might be rods. You

14 know, I -- I nadn't seen those.
15 Q. And did you specifically draw Mr. Glickman's
L6 attention to the wire and rope portion of the

a7 footage?

18 A. I -- we probably did ask him to particularly
19 look at that, but -- along with everything else.

20 Q. Do you remember whether you did or not or

21 are you just --

22 A. No, I don't have a specific memory of

23 telling Jeff be sure and look at the -- the clip with
24 the wire and rope in it.

25 Q. When was that footage sent to Mr. Glickman?

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1 A. Yes.
2 Q. Okay. And explain to me, is this typically
3 how you handle transferring video clips to
4 Mr. Glickman?
5 A. Uh-huh, yes.
6 Oo. And explain how that worked.
7 A, Well, the -- the video from the ROV is
8 divided into clips. As the whole -- that's how it's
9 done. And it's not one continuous Line of video,
10 it's divided into segments that have random numbers
11 assigned to them for identification. And this one is
12 0012X0, and the parenthesis "wire" was -- I added it
13 to that to remind me which one of those -- these
14 things is the wire.
15 And so we -- whenever I want Jeff to look at
16 one of these clips, I have them from Mark Smith, and
17 I put them on -- at that time I was just putting them
18 on Jeff's FTP, which is a way to transfer them,
19 because the files are usually huge. And so I put
20 them on Jeff's FTP. It's the most convenient way to
21 transmit the data.
22 OQ. Now, this clip that is referred to here, is
23] it the rope and wire clip that we've been referring
24 to?
25 A. Uh-huh. Yes, it is.

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1 Q. And so at least on this occasion, December
2 15th, you specifically identified that as something
3 of interest or to look at to Mr. Glickman?
4 A, Uh-huh, yeah.
5 Qo. And have you -- do you know if he had this
6 footage in hand prior to December 15th, 2010?
7 A. Well, if he did, I don't know why I'd be
8 sending it to him.
9 Q. Okay. So there's no -- certainly no
10 recollection you have of him having that footage
11 prior to this date?
12 A. No.
13 I see that I also pointed out a rod to him.
14 QO. And that would have been in that same
15 segment?
16 A. No, that's in a different segment. That's
17 in OO20EN.
18 Q. Do you remember having any written reports
19 back to you based upon this submission to
20 Mr. Glickman?
21 A. I don't remember having any written reports.
22 That's not usually the way we operate with Jeff. He
23 will occasionally give me a written report if I
24 specifically ask for one; but in something like this
25 where we're just casting around, do we have anything

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1 A. No, what -- what Mark does, he knows video
2 and systems. And when you're talking about providing
3 copies of video to different people at different
4 resolutions, Mark's the go-to guy on that.
5 Q. Okay. So as far as facilitating the --
6 A. He's not involved in the analysis, no.
7 Q. Okay. Anybody else, other than those that
8 we've talked about, that would have been involved at
9 all in an analysis of the 2010 video?
16 A. No, I don't think so. Unless you want a
11 couple thousands of people that saw the wire and rope
12 video on YouTube,
13 QO. And when was that posted on YouTube?
14 A. The -- the first clip on -- okay, here's
15 what happened. The Discovery show was scheduled to

16 air I think it was December 11th of 2010. And I had
1’ seen a preview copy of the show, and I knew that they
18 showed the wire video, it was part of the snow. And

19 I knew that the FIGHAR membership was going to be

20 really interested in that, because it's the only
21 thing we saw that was vaguely interesting.
22 So I put a two-and-a-half-minute clip up on

23 YouTube so people could look at it. And then later I
24 put up a video of the piece of rope. People were

25 interested in the rope. So I put those -- those two

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did those meetings occur where they indicated to you
that you needed to have an expedition done in 2012?
A. February of 2012.
QO. And prior to 2012 was there any intent by

TIGHAR to do an expedition in 2012?

A. No.

QO. And is it fair to -- I think you said --

A. Itm not sure that's true, wait a minute.
Yeah, we were -- no, no, we had decided that we

couldn't put anything together for 2012, That's why

we decided to do a symposium in Washington, D.C., as

a -- as an event that would help raise money. We had
-- it was the 75th anniversary year of the Earhart
disappearance and we thought we had to do something, so
we were going to have this big symposium. We didn't

think we could put together an expedition.

Q. And the symposium was in early June; is that
correct?
A. Yeah, June ist, lst and @nd.

Q. Okay. And so you ended you up doing both
the symposium and the expedition?

A. Oh, yeah.

QO. The -- had you started -- you indicated
earlier in your testimony that your approach is sort

of build it and they will come --~-

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1 we'd have and whether we'd be doing onshore search
2 work, So we were -- as I recall, we were -- we were
3 hoping to be able to do some onshore work, but the
4 opportunity never arose. We were able to get people
5 ashore for one afternoon just for sort of tourists
6 ‘wandering around for a few hours, because of some
7 mechanical problems with the boat.
8 But in terms of the difference between 2010
9 and 2012, in 2010 underwater search for airplane
10 wreckage was a component of the expedition. In 2012
11 it was the dominant, by far, activity.
12 And the other difference between 2010 and

13 2012 is in 2010 TIGHAR was running the show. It was

14 mostly our volunteers and our people doing the work
15 under my supervision, under archeologist Tom King's
16 supervision, and then you add Jesse Rodocker off on

17 the side doing his thing. In 2012 we were all

18 secondary to the technicians that were running the

19 equipment. And I was there to make overall

20 management decisions, but the -- our underwater

21 archeologist, our two sponsor team members, Andrew
22 Sanger and Mr. Mellon, were there to watch the video,

23 help us look for wreckage if any should show up, but
24) we had no technical job.

25 Q. What was the -- we talked about the overall

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Q. The -- without Mr. Mellon's donation, is
there any way you could have gone forward with the
expedition in the summer of 2012?

A, Probably not.

Q. And I think you said earlier that it was the
largest individual donation that had ever been given
to TIGHAR?

A. Yep,

Q. The -- the -- is it fair to say that
Mr. Mellon's donation was key to having an expedition
happen in the summer of 2012?

A. Yes.

Q. What were some of the differences between -~

you mentioned that the 2012 expedition was much more

expensive.
A. (Nodding head.)
oO. True?

A. Yes, that's absolutely true.

Oo. And the purpose was different than the 2010.

A No, the purpose was the same, which was
finding the airplane, finding the airplane wreckage;
but it was a sole-purpose expedition, in that we
weren't planning any onshore work unless the
opportunity arose. And we left that pretty Fuzzy,

because we didn't have a good feel for how much time

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25

happening.
Q. Did you direct him to the place to go on the
website for the radio -- the information regarding ~-
A. I don't know.
Qo. -- radio transmission?
A, Tf he asked -- it's not hard to find. If he

asked where to find more information, I certainly
would have pointed out how to get to it, to that; but
tI don't have any recollection of that.

Q. And you were present during Mr. Mellon's
deposition yesterday, correct?

A. Yes.

Qo. And did you have any disagreement with his
recollection of events or conversations between the
two of you prior to the donation?

A. Yeah.

QO. What was that?

A. Well, my recollection today of his
recollections yesterday -- as a matter of fact, I've

got the notes that I took yesterday.

Let me see. All I have here is erroneous
description of prior to donation. He maintained that
we had met before -- met face to face. Very

specifically, that we had met face to face before he

made his donation. And that's simply not true.

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he was part of the expedition team, then he would be
included in emails I would send out about what to
wear, what he needed, and the usual --

Q. Are you typically the one that handles those
sort of logistics?

A. On, yeah.

Q. Okay. When you met --- prior to receiving
the donation, did you talk to Mr. Mellon at ail about
the Bevington object?

A. I don't remember whether we talked about it
or not. It -- on April 28th when we had lunch -- you

Say prior to?

Q. Prior to the donation.
A. Probably not.
QO. Prior to the donation did you discuss with

him at all the work you'd done in 2010?

A. No.

Q. Okay.

A. Prior to -- we didn't -- we didn't discuss
much of anything prior to the donation. I sent him

materials. And he has testified that he went on the
TIGHAR website, he was curious about the radio
messages; but I was shocked, actually, about how
little information he wanted from me before making

his contribution. I'm not accustomed to that

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Rhode Island, which was -- he was staying at his
house on Narragansett Bay, at least I thought that's
where he was staying, because that's where he had me
send the material.

That's -- is there anything in there that --
he doesn't -- I must have gotten his address over the
phone of where to send it, because I sent it to the
house in Rhode Island.

And then I -- I -- we made the date, and I
flew up on April 28th. He drove over from his farm
in Connecticut in his pickup truck, picked me up at
the airport, we went into Providence, in the area
right there, and we looked for a place to eat. And
there was a little seafood house that he knew of, and
we had a very pleasant lunch, and then he took me
back to the airport and I flew home.

Q. The -- did you meet him again ever in person
prior to the expedition?

A. No, the next time I saw him was in Hawaii.

Q. Were you in regular communication with him
throughout that time?

A. That's a good question. I -- I must have
been in communication with him in terms of what to
bring on the expedition, just as I was with the other

members of the team. At that point, you know, once

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252 —
1 A. Sure, yeah, we must have.
2 Q. Because you had to find out that he was
3 actually willing --
4 A. Yeah.
5 Q. --~ to make the donation.
6 A. Yeah, there must nave been, and I can only
7 assume it must have been a telephone conversation.
8 Qo. But you don't remember any additional
9 conversations?
10 A. No.
11 Q. So between -- you mentioned a dinner on
12 April 28th --
13 A. No, it was a lunch.
14 Qo. -- hunch on April 28th.
15 A. Yeah. Now, there was -- there was also a
16 tentative plan. He was going to fly down, and his
17 wife would be with him or he was going to pick up his
18 wife, I think he was flying in to pick up his wife in
19 Wilmington, Delaware, which is near where we live,
20 and he was going to fly down and we were going to
21 have lunch then. I don't remember when that was
22 going to happen, but something about it -- and I
23 think it was on my end. If couldn't make the date
24 when he was going to be there. I had some other
25 obligation. So I offered to fly up to Providence,

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1 we should cruise along there with the ROV. We were
2 just doing whatever seemed to make sense.
3 QO. What depth did you search to?
4 A. Well, it depends. With the -- the AUV could

5 go as deep as 1,500 meters. I don't know that we

6 ever got that deep, but it got stuck at about 1,300

7 meters --

8 QO. And the limit of the ROV was?

3 A. -- no, 800 meters.

10 QO. What was the limit of the ROV?

11 A The ROV had a thousand meters of cable, and
12 -- but it couldn't go to the very end of the cable.
13 So you're looking at eight, nine hundred feet of

14 tether is as much as you could do. And that's where
15 the ROV -- the AUV, the AUV got stuck in a cave. And
16 we were at the extreme depths of where you could work

L? the ROV when we pulled that thing out of the cave.
18 It was hairy.
19 Q. Did you make any concerted effort to locate

20 the wire and the rope from the 2010 footage?

21 A. We didn't know where the wire and the rope
22 was, so we couldn't go to a particular place and look
23 for the wire and the rope. We were in the area, that

24 area north of the Norwich City and off of what we

25 call the Nessie location. Nessie, Like in Loch Ness

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1 Monster, Nessie, NE §8 S I E, Nessie location.
2 We were in that area and had an eye out for
3 it, sure, but no where to Look,
4 QO. And you didn't make a consistent effort at
5 the depth that it was registered at?
6 A. We did a lot of work at that depth.
7 Q. Specifically to try to find the wire and
8 rope?
9 A. We were looking at anything at that depth
10 through those -- those areas. And we -- we did come
11 across rope, but it was for fishing. We didn't see

12 any singular rope with a loop at the end of it like

13 in the video, but -- .

14 Q. Did you get accurate GPS readings in 2012,
15 or accurate -- not necessarily GPS, but accurate

16 lecation readings of where the ROV was?

17 A. We thought we did. And then later, similar
18 to the experience of 2010, when we started evaluating
19 the systems that were used we found that there were
20 Significant discrepancies.

21 Here's how we found out. The AUV had a

22 device on it that told us where it was, and the ROV

23 had a device. And they were seldom in the water at
24 the same time, but there was one time when they were
25 in the same place at the same time, and that's when

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24

25

this concentration, off the northwest tip. These <--
this shows the snail trails for the search at the
yeef base in the primary search area.

QO. Okay. And looking at the northernmost
trails which are in green, do you see those?

A. Yep.

Q. And I'm noting how those do go up and down
the slope, and is that what you call -- what you --

A, That -- that was the mowing the lawn.

Q. Okay. And then you have long -- on the --
on I guess it's the furthest east trails, you have
sort of some Long extended trails?

A. That's -- that's exploring a catch bin area,
a shelf area, where we hoped things might have come
to rest after going over the first cliff, maybe it's
the second cliff, but it's a catch bin area.

And then you'll see -- also note that there
are some vertical lines in red. We were trying to
mow the lawn in there, and there's a bunch of
Norwich City wreckage in there, and you -- you've got
to -- you've got to be very careful in there. So --
and then --

o. And --

A, Go ahead and ask your question.

Q. Where did you believe, from the prior <--

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2655
1 from the 2010 trip, that the relevant rope and wire
2 footage, approximately where would that have been
3 where you were looking for that?
4 A. The general area is right there where we did
5 the mowing the lawn, the green up and down. That's
6 -~- that's right in the area of where I would expect
7 the ROV was in 2010 that would have picked up the
8 rope and wire.
9 Qa. I'm giving you Deposition Exhibit Number 46.
i0 Do you recognize that document?
11 A. Uh-huh.
12 QO. And what is that?
13 A. That's my approximation of where the ROV --
14 yeah, the 2010 ROV was searching, the general area
15 where it was searching, those four green lines, when

16 it picked up the rope with loop and wire.

17 Q. And this is your approximation?

18 A. Based on the very scant information we had,
19 we were making our best guess of where the rope or
20 wire was.

21 Q. And just seo I understand the axes on here.

22 We've got on the left side the 500 meters. That
23 would be a depth? Is that a depth axis?
24 A, No.

25 0. Oh, that's -- that's the --

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EXHIBIT

i PENGAD-Seyonne, #. J.

Posted November 24, 2012
Forum Name: Summary of Debris from 2010 Video

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